Case 3:18-cv-01617-MEM Document 1-16 Filed 08/16/18 Page 1of3

EXHIBIT O
Case 3:18-cv-01617-MEM Document 1-16 Filed 08/16/18 Page 2 of 3

BER-L-007268-16 04/30/2018 3:34:28 PM Pq 1 of 2 Trans ID; LCV2018753731

-
ECKERT SEAMANS CHERIN & MELLOTT, LLC / d E
Anthony E. Bush, Esq. (N.J. Attorney ID No. #003761990) App Je
Nicholas M. Gaunce, Bsq. (N.J. Attorney ID No. #012032007) in. Op
Physical Address: 2000 Lenox Drive, Suite 203, Lawrenceville, NJ 08648 4. Dey i
Mailing Address; P.O, Box 5404, Princeton, NJ 08543 ay in

Telephone: (609) 392-2100
Facsimile: (609) 392-7956
Attorneys Jor Plaintiff, NexiGear Capital, Inc.

NEXTGEAR CAPITAL, INC., + SUPERIOR COURT OF NEW JERSEY
: BERGEN COUNTY: LAW DIVISION
Plaintiff, : DOCKET NO.: BER-L-7268-16
yy
Civil Action

THE LUXURY HAUS, INC.,, and ANTONIO
L. GUTIERREZ, and ABC CO., and EDITH
GUTIERREZ, jointly and severally, : CONSENT JUDGMENT

Defendants.

THIS MATTER having been opened to the Court by Eckert, Seamans, Cherin & Mellott,
LLC, attorneys for plaintiff, NextGear Capital, Inc, (“NextGear”); and the defendants, The Luxury
Haus, Inc. and Antonio L. Gutierrez, and NextGear having agreed to the entry of judgment; and
defendants, The Luxury Haus, Inc. and Antonio L. Gutierrez, having consented to the form and entry
of the within Consent Judgment; and for good cause appearing;

IT IS HEREBY ORDERED that, on this 30_ day of (pe / ___ , 2018, Judgment is
hereby entered against defendants, The Luxury Haus, Inc, and Antonio L, Gutierrez, jointly and

severally, and in favor of plaintiff, NextGear Capital, Inc. in the amount of $4,500,000.00;
Case 3:18-cv-01617-MEM Document 1-16 Filed 08/16/18 Page 3 of 3

BER-L-007268-16 04/30/2018 3:34:28 PM Pg 2 of 2 Trans ID: LCV2018753731

IT IS HEREBY FURTHER ORDERED that counsel for NextGear shall serve a full and

complete copy of this judgment upon all counsel of record and pro se parties within five days of its

posting upon e~Courts

CONSENT AS TO FORM AND ENTRY:
ECKERT SEAMANS CHERIN &

MELLOTT, LLC
Attorneys for Plaintiff, NextGear Capital, Ine.

Ve Yt were.
By: / :
Nicholas M. Gaunce, Esq.

Dated: April 30, 2018

THE LAW OFFICE OF IAN J. HIRSCH,

LLC
Attorneys for Defendants, The Luxury Haus, Inc.

and Antonils L. Guttetrez

i

' fark) Hirsch, Psq—
~\
Dated: April 30, 018
